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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

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                                                             February 21, 2020

The Honorable Claire C. Cecchi
United States District Judge
Martin Luther King Jr. Federal Building and U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re:      United States v. Matthew Brent Goettsche, et al.,
                          Crim. No. 19-877

Your Honor:

      The United States of America, through the undersigned, respectfully
submits this letter to: (1) provide this Court with a proposed scheduling order
and justifications in support thereof; (2) explain why this case should be
designated as complex for purposes of the Speedy Trial Act, 18 U.S.C.
§ 3161(h)(7)(B)(ii); and (3) request that the Court enter the attached
continuance order excluding time under the Speedy Trial Act under Section
3161(h)(7)(B)(ii).

     The parties have met and conferred on a proposed scheduling order.
Defendant Abel agrees with the Government’s proposed scheduling order.
Defendants Goettsche and Weeks do not.

       By way of background, the Government has charged five defendants with
orchestrating a global fraudulent scheme that operated over the Internet from
approximately 2014 until the defendants were arrested as a part of an
organized takedown on December 10, 2019. Prior to the takedown, the
Government’s investigation was largely covert and consisted of, among other
things, the execution of several search warrants on electronic cloud-based
accounts maintained by the defendants and their coconspirators. As a part of
the takedown, the Government executed search warrants at four residences,
seized at least 88 electronic devices, and issued several other requests for
records. After the takedown, the Government located and obtained a copy of at
least three versions of the Bitclub Network server.
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       All three defendants detained in the United States contested detention in
hearings that took significant resources. Three of the defendants are detained
in the United States, one is detained in Germany, and one has evaded capture
outside of the United States. The defendant who is detained in Germany is
awaiting the extradition process. On January 15, 2020, defendants Goettsche,
Weeks, and Abel appeared before Your Honor for their arraignment hearing.
Following their initial appearance, defendants Goettsche and Weeks again
contested detention, which led to several rounds of additional briefing and
approximately 8 hours of argument before Judge Hammer.

      The Government has provided defense counsel with a copy of its current
proposed scheduling order on Tuesday, February 13, 2020, the schedule of
which is identical to the version the Government is proposing to this Court,
save the addition in this attached version that the Government will provide a
copy of the BitClub Network server in its initial production on March 17, 2020
(a provision added based on the defendants’ requests).

       As discussed further below, the Government’s proposed scheduling order
is reasonable in light of the complexities of this case.

   I.      This Case is “Complex” As Defined By Section 3161(h)(7)(B)(ii)

       This Court has already previously determined, with respect to defendant
Abel, that this case is complex. On February 10, 2020, this Court entered a
continuance order that was agreed to by the Government and defendant Abel,
in which the Court recognized that the case is unusual or complex and that
discovery will be voluminous. The below is further explanation in support of
making the same determination as to the prosecutions of defendants Goettsche
and Weeks, who have not agreed to this designation.

       The circumstances of this case warrant a finding that this case is
complex under 18 U.S.C. § 3161(h)(7)(B)(ii). That subsection provides that, in
determining whether an “ends of justice” continuance is appropriate, the Court
shall consider:

        whether the case is so unusual or so complex, due to the number
        of defendants, the nature of the prosecution, or the existence of
        novel questions of fact or law, that it is unreasonable to expect
        adequate preparation for pretrial proceedings or for the trial itself
        within the time limits established by [the Speedy Trial Act].

18 U.S.C. § 3161(h)(7)(B)(ii). Here, these factors favor the Government’s
proposed continuance. There are five defendants in this case—one of whom is
detained and overseas and another defendant who remains at large. The
allegations in this case involve events spanning more than five years’ time and
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involves a large-scale fraud by way of shared, fractional interests of bitcoin
mining pools that were promoted to individuals all around the world to attract
hundreds of millions of dollars, which was sent—by way of the defendants—
through an elaborate web of cryptocurrency and traditional banking accounts.

      During the covert portion of the Government’s investigation, the
Government collected copies of electronic accounts operated by several of the
defendants and their coconspirators. The Government obtained at least 1.8
million records from this process. The records from these accounts—
particularly records received by Facebook—were provided to the Government in
formats that are difficult to review efficiently and/or without proprietary tools.
Accord Dolney v. United States, 2011 WL 73076 (E.D.N.Y. 2011) (noting that
court acted within its discretion in deeming $21 million securities fraud case a
complex action given the number of defendants and extensiveness of discovery,
which consisted of “at least 40 boxes of documents”); United States v. Astra
Motor Cars¸ 352 F. Supp. 2d 367 (E.D.N.Y. 2005) (deeming complex a multi-
defendant case with thousands of documents in discovery).

       On December 10, 2019, the Government searched four residences, seized
approximately 88 electronic devices, and made a variety of additional document
requests to various entities and individuals around the world. Of those
electronic devices, law enforcement has been able to “image” (i.e., create a bit-
for-bit copy of the device that is effectively identical to the device itself) several
of the devices; however, several of the devices have not been imaged because
either (1) they are not capable of being imaged; (2) they are password protected
and/or encrypted and so law enforcement has not been able to image them; or
(3) the devices remain in the queue to be analyzed given the large volume of
electronic devices seized in this case and the overall demand for forensic
analysis.

        After December 10, 2019, law enforcement obtained a copy of a version
of the BitClub Network server, which was taken to the RCFL (the Federal
Bureau of Investigation’s computer forensics laboratory). The lead case agent
received a copy of this server thereafter. The server, in its “zipped” (compressed
file size) form, is approximately 4 terabytes. To put that in perspective, the
Government provides the following chart taken from an online source:




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See Melvin Foo, How Much Can a 1TB Hard Drive Hold?, PC NINJA (FEB. 8,
2012), http://www.pcninja.us/how-much-can-a-1-tb-hard-drive-hold/
[https://perma.cc/LG5Z-LLN8] (cited in Jenia I. Turner, Managing Digital
Discovery in Criminal Cases, 109 J. Crim. L. & Criminology 237, 311 n.70
(2019)).

     The Government’s investigation remains active and ongoing, and the
Government continues to collect records in furtherance thereof.

       The complex nature of this case is highlighted further by the defense
teams amassed by the defendants. Both Goettsche and Weeks have hired
several partners at major law firms to help their defense in this case. Indeed,
the parties spent at least eight hours over the course of two days to address
bail revocation, during which both defendants argued that the Government’s
charges evidence a misunderstanding of the factual underpinnings of the
scheme.

       Defendants’ briefing in connection with their requests for bail highlights
further that this case is complex. Indeed, defendant Goettsche stated in his
brief that “[t]his case involves an enormous amount of discovery seized from
Mr. Goettsche and various businesses that relates to the digital currency
industry, which no one disputes is extraordinarily complex.” See Goettsche
Motion for Revocation, ECF No. 36, at 2. While Defendant Weeks similarly
highlighted that “the enormous volume of discovery in this case virtually
ensures that the pretrial period of detention will be much longer” and stated
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further that “the charges relate to esoteric matters involving cryptocurrency
mining, hash rates, blockchains, complex algorithms, and mining pools[.]” See
Weeks Reply, ECF No. 37, at 18-19. These statements support a finding that
the case’s complexity warrants a continuance in this case. See United States v.
Paul, 326 F. Supp. 2d 382, 391 (E.D.N.Y. 2004) (“Defense statements on record
. . . support a continuing finding of complexity.”).

       In light of the above, a continuance through October 31, 2020—the
month of the Government’s proposed status conference—is appropriate in light
of the complexity of the case given “the number of defendants, the nature of the
prosecution,” and “the existence of novel questions of fact.”

     II.   The Government’s Proposed Scheduling Order Sets Forth a
           Reasonable Schedule for Discovery In This Case

      The Government’s proposed scheduling order sets forth a reasonable
schedule in light of the complex nature of the discovery involved in this
prosecution.

       First, the scheduling order provides that the parties work together to
submit a protective order in this case to the Court, the finalization of which has
been complicated due to a receiver having been appointed in a Montana lawsuit
involving defendant Goettsche. 1 The issuance of an appropriate protective
order is important in this case because discovery involves financial and
identifying information of the defendants’ victims.

       Second, the Government’s proposed scheduling order provides that the
defendants will be provided with several items by March 17, 2020, including:
(1) with certain exceptions, recorded statements of the defendants; (2)
exculpatory evidence known to the Government; (3) confessions that implicate
codefendants; (4) the first round of discovery in a series of rolling productions;
and (5) a copy of the BitClub Network server that law enforcement located and
obtained a copy of after the defendants were arrested in this case.

       The March 17, 2020 date as the date to start providing materials to
defense counsel is appropriate here because it will allow the Government
sufficient time to (1) finalize for production a significant set of documents to be
turned over to the defense and (2) copy over the server data to hard drives
provided by defense counsel. Approximately 1.8 million records—the majority
of which were obtained during the covert portion of the Government’s

1The Government has had a preliminary discussion with the receiver regarding
the need to address both the discovery and protection concerns in the criminal
case and the receiver’s reporting duties to the district court in the Montana
matter.
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investigation—are currently housed on a document review platform. The
process of finalizing a set of materials and producing those materials takes
anywhere between 2-4 weeks, depending on the size of the records to be
finalized and produced. The Government is working to produce at least
500,000—and hopefully more—records from this platform to defense counsel
by March 17, 2020.

      Additionally, it takes considerable time to transfer over the data of the
BitClub Network server onto hard drives provided by defense counsel. First,
the hard drive provided by counsel must be wiped to ensure that it does not
corrupt the system. This process can be very time consuming. By way of
example, a hard drive recently provided by defense counsel to the Government
took approximately 154 hours to wipe. After the device is wiped, it takes
approximately a day for the server data to be loaded onto the drive, and then
can take up to two additional days to verify that the data transferred
appropriately.

       The proposed August 28, 2020 date for the Government to complete the
rolling production of records in this case is reasonable in light of the significant
electronic discovery seized in this case—including a significant volume of
devices that were seized on the date of the defendants’ arrests—along with the
need to conduct an appropriate filter review to protect the defendants’ attorney-
client privilege.

       As outlined above, the Government obtained copies of several electronic
accounts belonging to the defendants in this case. Out of an abundance of
caution, the Government has segregated many records as being potentially
privileged and has provided defense counsel with an opportunity to review the
documents, propose additional search terms, and assert privilege when
appropriate, and return the non-privileged materials to the prosecution team so
that those materials may be produced. The Government has also taken a
similar approach to those materials that were seized from houses and persons
on the December 10, 2019 coordinated takedown. The Government’s cautious
approach means that the prosecution team has not been able to review these
devices and/or records. The outlined scheduling order will provide the parties
with a reasonable amount of time for that review.

      Finally, following the rolling productions and production of discovery by
defense counsel, the Government proposes that the parties participate in a
status conference with the Court sometime in October 2020, which will allow
the parties sufficient time to discuss any potential discovery disputes and
(hopefully), if possible, encourage the parties to resolve any discovery issues
without unnecessarily wasting the Court’s resources.


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     III.   The Competing Proposal Submitted By Defense Counsel Does Not
            Include Reasonable Demands

       While the Government intends to respond more fully to any competing
scheduling order submitted by Goettsche and Weeks, it is worth highlighting
that several anticipated aspects of the proposed order, based on a version sent
to the undersigned on the late afternoon of February 20, 2020 (the “Weeks
draft”), are not feasible, for several reasons.

      First, the Weeks draft requested that the initial production of documents
occur by March 6 as opposed to March 17. If the Government were to provide
defense counsel with an initial production by March 6, it could not be as
comprehensive as the Government’s proposed March 17 production because of
technical and timing limitations of readying that amount of data for disclosure.

       Second, the proposed Weeks draft included a provision whereby the
Government would return all seized devices to the defendants by March 6,
2020 as a part of its initial production. The return of the defendant’s electronic
devices seized at the time of their arrests is not possible for the majority of the
devices in this case. As explained to defense counsel, the Government is
willing to provide defense counsel with those electronic devices that were seized
and were able to be copied bit-for-bit through a computer forensic process, so
long as defense counsel and defendants agree to waive any argument to
authenticity. However, as counsel knows, many of the electronic devices that
were seized by the Government cannot be copied over identically and some
cannot be copied at all because they are password protected and/or encrypted.
The Government cannot agree to return to the defendants seized evidence of
which it does not have an identical copy. 2

       Third, the proposed Weeks draft contemplates that the Government will
turn over all of the 1.8 million records it seized covertly in connection with this
case if they are responsive to Rule 16. Such a request is unreasonable given
the complex nature of the case, especially where the Government is attempting
to produce at least 500,000 records to the defendants as a part of its initial
production.

                               *      *     *      *



2 The Government is aware, for example, that certain defendants
communicated using encrypted or otherwise protected applications that may
not be captured and/or processed by standard forensic programs. In that
case, the application in question may only be visible on the physical device
itself.
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      Accordingly, the Government respectfully requests that the Court: (1)
adopt the Government’s proposed scheduling order in this case, to which
defendant Abel has agreed; and (2) make a determination that this case is an
unusual or complex case within the meaning of the Speedy Trial Act 18 U.S.C.
§ 3161(h)(7)(B)(ii), in light of the number of defendants, the nature of the
prosecution, and the existence of novel fact questions, such that it is
unreasonable to expect adequate preparation for pretrial proceedings and trial
within 70 days, and that discovery in this case is expected to be voluminous,
such that additional time is necessary to ensure that the parties, taking into
account the exercise of due diligence, will have sufficient time to review and
inspect discovery and further investigate the charges in this matter, such that
the ends of justice served by granting a continuance through October 31, 2020
outweigh the best interests of the public and the defendants in a speedy trial.

                                           Respectfully submitted,

                                           CRAIG CARPENITO
                                           United States Attorney




                                           By: Jamie L. Hoxie
                                           Assistant U.S. Attorney




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